

Sigalovskaya v New York City Tr. Auth. (2022 NY Slip Op 00641)





Sigalovskaya v New York City Tr. Auth.


2022 NY Slip Op 00641


Decided on February 01, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 01, 2022

Before: Kern, J.P., Friedman, Singh, Scarpulla, Rodriguez, JJ. 


Index No. 451333/18 Appeal No. 15186 Case No. 2021-03438 

[*1]Karina Sigalovskaya, Plaintiff-Respondent,
vNew York City Transit Authority, Defendant, MTA Bus Company, et al., Defendants-Appellants.


Morris Duffy Alonso Faley &amp; Pitcoff, New York (Iryna S. Krauchanka and Andrea M. Alonso of counsel), for appellants.
William Schwitzer &amp; Associates, P.C., New York (D. Allen Zachary of counsel), for respondent.



Order, Supreme Court, New York County (Suzanne Adams, J.), entered on or about August 30, 2021, which, to the extent appealed from as limited by the briefs, granted plaintiff's motion for summary judgment on the issue of liability and, pursuant to CPLR 3211(b), to dismiss defendants' MTA Bus Company and Eddie J. Williams's affirmative defenses, unanimously affirmed, without costs.
In opposition to plaintiff's showing that defendants' vehicle rear-ended her vehicle, defendants offered the explanation that plaintiff's vehicle stopped abruptly. This assertion fails to constitute a nonnegligent explanation for the accident that would raise an issue of fact as to liability, since it does not explain why defendant driver failed to maintain a safe distance between his vehicle and the one ahead of it (see Urena v GVC Ltd., 160 AD3d 467 [1st Dept 2018]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 1, 2022








